	NO. 07-12-0101-CR
	
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL C

	MARCH 29, 2012
	______________________________

	ROCKY JIMENEZ,

Appellant

	v.

	THE STATE OF TEXAS,

Appellee
	_______________________________

	FROM THE 364th DISTRICT COURT OF LUBBOCK COUNTY;

	NO. 2012-433,593; HON. BRADLEY S. UNDERWOOD, PRESIDING
	_______________________________

	ORDER OF DISMISSAL
	_______________________________

Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.
	Appellant, Rocky Jimenez, appeals his conviction for possession of a controlled substance with intent to deliver.  The certification of right to appeal stated that 1) the criminal proceeding was "a plea-bargain case and the defendant has NO right of appeal." This circumstance was brought to the attention of appellant and opportunity was granted him to obtain an amended certification entitling him to appeal.  No such certification was received within the allotted time.  Having no certification indicating that appellant has a right to appeal his conviction, we dismiss the appeal per Texas Rule of Appellate Procedure 25.2(d).


Per Curiam

Do not publish.

















